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              MODULAR LIDAR SYSTEM                                     [0013] FIG. 6 is a block diagram of an illustrative control
                                                                       system of a UAV.
           CROSS REFERENCE TO RELATED
                  APPLICATIONS                                                         DETAILED DESCRIPTION
[0001] This application is based on and claims priority to             [0014] This disclosure is directed to a modular LIDAR
U.S. Provisional Application No. 62/141,179, filed on Mar.             system fanned of multiple LIDAR components. Each LIDAR
31, 2015, entitled, "Modular LIDAR System," the contents of            component may include a laser emitter and a laser detector
which are herein incorporated by reference.                            configured in a frame. Multiple LIDAR components may be
                                                                       arranged on a rotatable swivel housing, which may be a
                      BACKGROUND                                       chassis. The rotatable housing may rotate about a first axis
[0002] Light Detection and Ranging ("LIDAR") systems                   that is perpendicular to a plane defined by a mounting base.
are used to determine distances from objects using time-of-            The multiple LIDAR components may be aimed outward
flight of light generated by a laser. LIDAR systems may be             from the swivel housing at different directions between a first
used in fixed locations or on moving objects to capture data           direction along the first axis and a second direction along a
about those objects and/or a surrounding area. One example             second axis that is perpendicular to the first axis. The direc-
use of LIDAR is to map geographic terrain. To perform terrain          tions may range up to 90 degrees in separation. When the
mapping, a LIDAR system may be aimed in a fixed position               rotatable housing is rotated completely armmd the first axis
toward the earth and flown over an area of the earth that is           that is perpendicular to the base, the multiple LIDAR com-
desired to be mapped. In this approach, the LIDAR system               ponents may scan a first field of view of360 degrees around
mapping may be analogous to combing over the terrain. In               the first axis and may scan a second field of view of substan-
this example, and in most typical arrangements, LIDAR sys-             tially 180 degrees about the second axis.
tems are used to capture distance data in a single direction.          [0015] In some embodiments, the modular LIDAR system
                                                                       may be mounted on or coupled to an underside of an aircraft,
      BRIEF DESCRIPTION OF THE DRAWINGS                                such as an unmanned aerial vehicle (UAV), and used to deter-
                                                                       mine distances of objects in most or all directions outward
[0003] The detailed description is described with reference            and below the aircraft (towards the earth). The modular
to the accompanying figures. In the figures, the left-most             LIDAR system may rotate a high speeds such that samples of
digit( s) of a reference number identifies the figure in which         the same scene or object are taken at a rate of over one
the reference number first appears. The san1e reference num-           hundred samples per s·econd. The LIDAR components may
bers in different figures indicate similar or identical items.         be arranged to provide resolution fidelity of objects located
[0004] FIG. 1 is a low elevation isometric view of an                  within 100 meters of the module LIDAR array, which may
unmanned aerial vehicle (UAV) that includes an illustrative            enable the aircraft to detect objects and distances from those
modular LIDAR system.                                                  objects and/or recognize objects when landing or navigating
[0005] FIG. 2 is an isometric view ofan illustrative modular           near objects.
LIDAR system including multiple LIDAR components in a                  [0016] The teclmiques and systems described herein may
single stack configuration, each having a laser emitter and a          be implemented in a number of ways. Example implementa-
laser detector.                                                        tions are provided below with reference to the following
[0006] FIG. 3 is an isometric view of another illustrative             figures.
modular LIDAR system having inconsistent spacing between               [0017] FIG. 1 is a low elevation isometric view of an illus-
LIDAR components.                                                      trative unmanned aerial vehicle (UAV) 100 that includes an
[0007] FIG. 4A is a side elevation view of an illustrative             illustrative modular LIDAR system 102. The UAV 100 may
modular LIDAR system using LIDAR components arranged                   be implemented as virtually any type of aircraft. In some
in a stack configuration spanning up to ninety degrees.                embodiments, the UAV 100 may be a multi-rotor vertical
[0008] FIG. 4B is a side elevation view of yet another                 takeoff and landing vehicle, such as a quadcopter, octocopter,
illustrative modular LIDAR system using LIDAR compo-                   or other multi-rotor aerial vehicle. In various embodiments,
nents arranged in at least two different stack configurations to       the UAV 100 may include at least one fixed wing to provide at
provide finer resolution granularity when scanning objects as          least some upward lift during forward flight of the UAV. The
compared to use of LIDAR components configured in a single             UAV 100 may be configured to transition from rotor flight to
stack configuration.                                                   a fixed-wing flight during operation, such as by redirecting
[0009] FIG. 4C is a side elevation view of another illustra-           rotors/propellers from a lift configuration to a forward pro-
tive modular LIDAR system using LIDAR components                       pulsion configuration when the UAV includes at least one
arranged in at least two different stack configurations and            wing that provides upward lift.
spanning between ninety degrees and one hundred eighty                 [0018] The UAV 100 may include the modular LIDAR
degrees.                                                               system 102, which may collect data used to determine a
[0010] FIG. 4D is a side elevation view of still another               distance between an object and the UAV, the ground (earth)
illustrative modular LIDAR system using LIDAR compo-                   and the UAV, and/or other distances. The modular LIDAR
nents arranged in a stack configuration with at least some             system 102 may provide data with resolution granularity to
LIDAR components aimed above the horizon.                              enable the UAV 100 to successfully avoid obstacles while
[0011] FIG. 4E is a top plan view of yet another illustrative          landing and while flying through a dense environment that
modular LIDAR system using LIDAR components arranged                   contains buildings, power lines, and other aircraft, among
in various stack configurations.                                       other obstacles. The modular LIDAR system 102 may be
[0012] FIG. 5 is an isometric diagram of an illustrative               coupled to an underside of the UAV 100 and have an unob-
LIDAR component that includes a laser emitter and a laser              structed or at least mostly unobstructed view of the ground
detector configured in a frame.                                        (e.g., except possible obstruction oflanding gear, etc.).
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(0019] In operation, the modular LIDAR system 102 may                   coupled to an underside of a UAV). In some embodiments, the
rotate about a first axis 104 that is perpendicular to a plane          field of view may be extended beyond 180°, although the
defined by a mounting base 106. The rotation may be caused              modular LIDAR system 102 may then be mounted on a boom
by a motor located in the base, in the rotatable swivel housing,        so that some of the scanned area is not blocked by an under-
or in another object (e.g., located in the UAV). Thus, the              side of the UAV and/or the mounting base.
modular LIDAR system 102 may have a field of view of360                 (0022] The modular LIDAR system 102 may include the
degrees horizontally. The modular LIDAR system 102 may                  dome 116 to protect the LIDAR components 202 and the
include LIDAR components arranged on a rotatable swivel                 rotatable swivel housing 108 from the enviromnent. For
housing 108. The multiple LIDAR components may be aimed                 example, the dome 116 may protect the LIDAR components
outward from the swivel housing at different directions                 from foreign objects, such as dirt, water, and weather. In some
between a first direction 110 along the first axis 104 and a            embodiments, the dome 116 may rotate with the rotatable
second direction 112 along a second axis 114 that is perpen-            swivel housing 108. Rotation of the dome may reduce distur-
dicular to the first axis 104. The directions 110 and 112 may           bance of airflow caused by the rotation as compared to rota-
have up to 90 degrees in separation. When the rotatable swivel          tion of a planar surface, such as the rotatable swivel housing
housing is rotated completely about the first axis 104, the             without the dome 116. However, in various embodiments, the
multiple LIDAR components may scan a first field of view of             rotatable swivel housing 108 may rotate within the dome 116
360 degrees about the first axis 104 and may scan a second              while the dome 116 remains stationary. In at least some
field of view of substantially 180 degrees about the second             embodiments, the dome may not be included in the modular
axis 114.                                                               LIDAR system 102.
(0020] The modular LIDAR system 102 may include a                       (0023] The rotatable swivel housing 108 may include a
dome 116 to protect the LIDAR components and the rotatable              counterweight 208. The counterweight 208 may have a same
swivel housing 108 from the environment. In some embodi-                or nearly a same weight as the rotatable swivel housing 108.
ments, the dome 116 may rotate with the rotatable swivel                The counter weight 208 may have a center of mass located at
housing 108. In various embodiments, the rotatable swivel               an equal and opposite location of a center of mass of the
housing 108 may rotate within the dome 116 while the dome               rotatable swivel housing 108, in relation to the first axis 104.
116 remains stationary. The rotatable swivel housing 108 may            Thus, the counter weight 208 may balance the rotatable
include a counter weight such that rotation of the swivel               swivel housing 208 during rotation about the first axis 104 to
housing causes minimal or no vibrations.                                reduce vibrations caused by the rotation. The counter weight
[0021] FIG. 2 is an isometric view ofan illustrative modular            208 may not be implemented or may be minimized in some
LIDAR system 102 including multiple LIDAR components                    designs, such as the design shown in FIG. 4B that includes a
202 in a single stack configuration, each having a laser emitter        multi-sided modular LIDAR system.
and a laser detector. As discussed above, the modular LIDAR             (0024] The LIDAR components 202 may include a laser
system 102 may rotate about the first axis 104 that is perpen-          emitter 210 and a laser detector 212. The LIDAR component
dicularto a plane defined by the mounting base 106. Thus, the           202 is discussed in further detail with reference to FIG. 5. The
modular LIDAR system 102 may have a first field of view 204             LIDAR components 202 may be stacked together as shown in
of 360° degrees horizontally. The modular LIDAR system                  FIG. 2 and aimed at different directions along and/or between
102 may include the LIDAR components 202 arranged on the                the first direction 110 and the second direction 112. A LIDAR
rotatable swivel housing 108, which may swivel on a swivel              component 214 may be included in an axe! and aimed along
platform 216. The swivel platform 216 may include bearings,             the first direction 110.
a motor, a drive shaft coupler (to receive a drive shaft from a         (0025] When sampling data using the LIDAR components
motor), and/or other devices to enable rotation of the rotatable        202, the data may be received in a series, and thus each
swivel housing 108 about the first axis 104. In some embodi-            LIDAR component may transmit data at a different time.
ments, the swivel platform 216 may be part of the mounting              However, in some embodiments, multiple LIDAR compo-
base 106. The multiple LIDAR components 202 may be                      nents may transmit data at a same time or during overlapping
aimed outward from the swivel housing at different directions           time periods. A LIDAR controller may distinguish between
between the first direction 110 along the first axis 104 and the        signals based on characteristics of the signals, such as a
second direction 112 along the second axis 114 that is per-             frequency, a range, and/or other infonnation. Thus, in some
pendicular to the first axis 104. The directions may range up           embodiments, the LIDAR controller may processes signals in
to a degrees in separation, which may be up to 90 degrees, up           parallel, thereby processing multiple signals concurrently.
to 120 degrees, or up to somewhere between 90 and 120                   (0026] FIG. 3 is an isometric view of another illustrative
degrees. When the rotatable swivel housing 108 is rotated, via          modular LIDAR system 300 having inconsistent spacing
the swivel platform 216, completely about the first axis 104,           between LIDAR components 302. A first LIDAR component
the multiple LIDAR components 202 may scan the first field              304 may be aimed at a first direction 306 having a first angle
of view 204 of360° degrees about the first axis 104 and may             308 between the first direction 306 and a direction of an
scan a second field of view 206 of substantially 180° degrees           adjacent LIDAR component. A second LIDAR component
(a. 0 +~ 0 =180°) about the second axis 114. However, the actual        310 may be aimed at a second direction 312 having a second
second field of view 206 may be slightly less than 180° for             angle 314 between the second direction 312 and a direction of
design reasons and to maximize view of each LIDAR sensor.               an adjacent LIDAR component. A third LIDAR component
In some embodiments, the directions may range past 90                   316 may be aimed at a third direction 318 having a third angle
degrees in separation. For example, the directions may have a           320 between the third direction 318 and a direction of an
range of 120 degrees. In such an embodiment, the LIDAR                  adjacent LIDAR component. In some embodiments, the first
components may have overlapping coverage in some parts of               angle 308, the second angle 314, and the third angle 320 may
the area that is scanned, such as an area pointed nearly straight       be different angles. For example, the first angle 308 may be
down toward the earth (when the modular LIDAR system is                 less than the second angle 314 and the second angle 314 may
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be less than the third angle 320. Thus, the direction of LIDAR          or smaller version of the second portion of the rotatable
components may include broader spacing near the horizontal              swivel housing 412, which may span between zero degrees
set, as oriented under a UAV as shown in FIG. l.                        and ninety degrees. Thus, the span of the entire modular
[0027] FIG. 4A is a side elevation view of an illustrative              LIDAR system 414 may span between ninety degrees and one
modular LIDAR system 400 using LIDAR components                         hundred eighty degrees. For illustrative purposes, the modu-
arranged in a stack configuration spanning up to ninety                 lar LIDAR system 414 is depicted in FIG. 4C as spanning
degrees. The modular LIDAR system 400 depicts a similar                 about one hundred and twenty degrees. As discussed above,
configuration as shown in FIG. 2. The modular LIDAR sys-                by offsetting the LIDAR components on each stack, the
tem 400 may include the swivel platform 216, the counter                LIDAR components, working together, may enable the
weight 208, and the dome 116, as described above.                       modular LIDAR system 408 to scan objects at a finer resolu-
[0028] As shown in FIG. 4A, a first stack ofLIDAR com-                  tion granularity than a resolution granularity that may be
ponents 402 on a first portion of a rotatable swivel housing            possible when using a single stack of LIDAR components
404 intersect reference lines 406 (which, shown in dashed               since space constraints may cause a single stack to be con-
lines for description purposes, evenly divide the first portion         strained to a limited number of LIDAR components, and thus
of the rotatable swivel housing 404 into 11.25° degree seg-             dictate m1 angle between directions of those LIDAR compo-
ments). More or fewer stacks may also be implemented in the             nents. In the configuration shown in FIG. 4C, the LIDAR
modular LIDAR system 400, depending on space constraints.               components may have overlapping coverage in some parts of
A variation of the modular LIDAR system 400 may include                 the area that is scmmed, such as an area pointed nearly straight
LIDAR components 402 that are not evenly spaced relative                down toward the earth, such as when the modular LIDAR
the reference lines, such as discussed above and shown in               system 414 is coupled to an underside of a UAV.
FIG. 3. Thus, the distance between the LIDAR components                 [0032] FIG. 4D is a side elevation view of still another
402 or angle between directions of each of the LIDAR com-               illustrative modular LIDAR system 416 using LIDAR com-
ponents 402 may be consistent (as shown in FIG. 2) or incon-            ponents arranged in a stack configuration with at least some
sistent (as shown in FIG. 3).                                           LIDAR components aimed above the horizon. The LIDAR
[0029] FIG. 4B is a side elevation view of yet another                  system 416 is similar to the LIDAR system 400, but includes
illustrative modular LIDAR system 408 using LIDAR com-                  an addition housing extension 418 of the rotatable swivel
ponents arranged in at least two different stack configurations         housing 404 that houses LIDAR components 420 that are
to provide finer resolution granularity when scanning objects           aimed above the horizon, as illustrated in FIG. 4D. The
during rotation about the first axis 104 as compared to use of          LIDAR system 416 may include a boom 422 to create an
LIDAR components configured in a single stack configura-                offset distance between the rotatable swivel housing 404 and
tion (e.g., shown in FIG. 2). As shown in FIG. 4B, the first            the swivel platfonn 216. The offset distance may enable a
stack of LIDAR components 402 on the first portion of a                 clear line of sight by LIDAR components in the addition
rotatable swivel housing 404 intersect the reference lines 406          housing extension 418, without being blocked by the mount-
(which, shown in dashed lines for description purposes,                 ing base 106, a body of a UAV, mid/or other structures. The
evenly divide the first portion of the rotatable swivel housing         LIDAR system 416 may, when rotated in a full rotation about
404 into 11.25° degree segments). A second stack ofLIDAR                the first axis 104, and thus about a horizontal field of view,
components 410 on a second portion of a rotatable swivel                provide capture of data to perform distance measurement of
housing 412 are between the reference lines 406 (which,                 objects in greater thm1 180 degrees of vertical field of view,
shown in dashed lines for description purposes, evenly divide           and thus may measure distance of objects located above the
the second portion of the rotatable swivel housing 412 into             horizon.
11.25° degree segments). Additional stacks may also be                  [0033] FIG. 4E is a top plan view of yet another illustrative
implemented in the modular LIDAR system 408, depending                  modular LIDAR system 424 using LIDAR components
on space constraints. By offsetting the LIDAR components                arranged in various stack configurations. The LIDAR system
on each stack, the LIDAR components, working together,                  424 may include multiple stack configurations 426, such as
may enable the modular LIDAR system 408 to scan objects at              stack configurations 426(1), 426(2), ... 426(N). Angles 428
a finer resolution granularity than possible when using a               (1 )-(N) between stacks may be detem1ined based on design
single stack of LIDAR components since space constraints                requirements, and may or may not create symmetry. For
may cause a single stack to be constrained to a limited nlllilber       exmnple, the angle 428(1) is defined as between the stack
of LIDAR components, and thus dictate an angle between                  components 426(1) and 426(2). Although the LIDAR com-
directions of those LIDAR components.                                   ponents 202 are shown in straight rows in each stack, the
[0030] The modular LIDAR system 408 may include the                     LIDAR components may also be shifted by a distance (or
swivel platfonn 216 to facilitate rotation of the modular               angle) such that the LIDAR component are not all aimed in a
LIDAR system 408 about the first axis 104. In some embodi-              smne general direction (e.g., west, east, etc.) at a same time. In
ments, the modular LIDAR system 408 may include the dome                some embodiments, the LIDAR components on a first stack
116. However, since the modular LIDAR system 408 is sub-                component and a second stack component may be used to
stantially synnnetrical, the dome 116 may be omitted or may             determine velocity after a first pass (e.g., a full rotation about
rotate with the modular LIDAR system 408.                               the first axis 104, and thus about a horizontal field of view).
[0031] FIG. 4C is a side elevation view of another illustra-            Acceleration may be detennined after a subsequent rotation
tive modular LIDAR system 414 using LIDAR components                    (i.e., second pass).
arranged in at least two different stack configurations and             [0034] FIG. 5 is an isometric diagram of an illustrative
spanning between ninety degrees and one hundred eighty                  LIDAR component 500 that includes at least one laser emitter
degrees.As shown in FIG. 4C, the first portion of the rotatable         502 and at least one laser detector 504 configured in a frm11e
swivel housing 404 may be similar to that shown in FIG. 4A.             506 that securely positions and aims the laser emitter 502 and
The modular LIDAR system 414 may include a consolidated                 the laser detector 504. The laser emitter 502 may include a
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first lens 508 through which one or more laser beams or               gram instrnctions and data implementing desired fimctions,
orientations may be emitted while the laser detector 504 may          such as those described above, are shown stored within the
include a second lens 510 through which the one or more laser         non-transitory computer readable storage medium 620 as
beams or orientations emitted by the first lens 508 are               program instructions 622, data storage 624 and flight path
received. TI1e LIDAR component 500 may include a circuit              data 626, respectively. In other implementations, program
board 512 that include embedded logic and wiring to capture           instructions, data, and/or flight paths may be received, sent, or
and route signals from the components and/or to provide               stored upon different types of computer-accessible media,
power to the components. The circuit board may include the            such as non-transitory media, or on similar media separate
ability to perfonn a degree of processing of the received             from the non-transitory computer readable storage medium
sensor data, and capture the rotational position of a rotatable       620 or the UAV control system 600. Generally speaking, a
swivel housing. Tims, the circuit board 512 may have power            non-transitory, computer readable storage medium may
connectors and data signal connections. The circuit board 512         include storage media or memory media such as flash
may include one or more com1ectors 514 that plug into                 memory (e.g., solid state memory), magnetic oroptical media
complementary connectors of the rotatable swivel housing              (e.g., disk) coupled to the UAV control system 600 via the I/O
for data and power.                                                   interface 610. Program instructions and data stored via a
[0035] The LIDAR components 500 may be inserted into a                non-transitory computer readable medium may be transmit-
rotatable swivel housing (or chassis), such as the rotatable          ted by transmission media or signals such as electrical, elec-
swivel housing 108. For example, the rotatable swivel hous-           tromagnetic, or digital signals, which may be conveyed via a
ing may include a plurality of slots that accept insertion and        conununication medium such as a network and/or a wireless
coupling of a LIDAR component (i.e., one LIDAR compo-                 link, such as may be implemented via the network interface
nent for each slot). Thus, use of the LIDAR components may            616.
enable a plug-and-play configuration where a rotatable swivel         [0039] In one implementation, the I/O interface 610 may be
housing may be populated with LIDAR components aimed at               configured to coordinate I/O traffic between the processor( s)
directions to meet design requirements of a specific applica-         602, the non-transitory computer readable storage medium
tion, such as resolution granularity. Additionally, such plug-        620, and any peripheral devices, the network interface or
and-play modularity may simplify and speed up the manu-               other peripheral interfaces, such as input/output devices 618.
facture and repair of the LIDAR assemblies 102, 300, 400,             In some implementations, the I/O interface 610 may perfonn
408, and/or 414 shown above.                                          any necessary protocol, timing or other data transformations
[0036] FIG. 6 is a block diagram of an illustrative control           to convert data signals from one component (e.g., non-tran-
system 600 of the UAV. In various examples, the block dia-            sitory computer readable storage medium 620) into a fonnat
gram may be illustrative of one or more aspects of the UAV            suitable for use by another component (e.g., processor(s)
control system 600 that may be used to implement the various          602). In some implementations, the I/O interface 610 may
systems, devices, and techniques discussed above. In the              include support for devices attached through various types of
illustrated implementation, the UAV control system 600                peripheral buses, such as a variant of the Peripheral Compo-
includes one or more processors 602, coupled to a non-tran-           nent Interconnect (PCI) bus standard or the Universal Serial
sitory computer readable storage medium 620 via an input/             Bus (USB) standard, for exan1ple. In some implementations,
output (I/O) interface 610. TI1e UAV control system 600 may           the function of the I/O interface 610 may be split into two or
also include a propeller motor controller 604, power supply           more separate components, such as a north bridge and a south
module 606, and/or a navigation system 608. The UAV con-              bridge, for example. Also, in some implementations, some or
trol system 600 further includes an inventory engagement              all of the functionality of the I/O interface 610, such as an
mechanism controller 612, a UAV airbag LIDAR controller               interface to the non-transitory computer readable storage
614, a network interface 616, and one or more input/output            medium 620, may be incorporated directly into the processor
devices 618.                                                          (s) 602.
[0037] In various implementations, the UAV control sys-               [0040] The propeller motor(s) controller 604 communi-
tem 600 may be a uniprocessor system including one proces-            cates with the navigation system 608 and adjusts the power of
sor 602, or a multiprocessor system including several proces-         each propeller motor to guide the UAV along a determined
sors 602 (e.g., two, four, eight, or another suitable number).        flight path. The power supply module 606 may control the
The processor(s) 602 may be any suitable processor capable            charging and any switching functions associated with one or
of executing instructions. For example, in various implemen-          more power modules (e.g., batteries) of the UAV.
tations, the processor(s) 602 may be general-purpose or               [0041] The navigation system 608 may include a GPS or
embedded processors implementing any of a variety of                  other similar system that can be used to navigate the UAV to
instruction set architectures (ISAs), such as the x86, Pow-           and/or from a location. The inventory engagement mecha-
erPC, SPARC, or MIPS ISAs, or any other suitable ISA. In              nism controller 612 comm1micates with the actuator(s) or
multiprocessor systems, each processor(s) 602 may com-                motor(s) (e.g., a servo motor) used to engage and/or disen-
monly, but not necessarily, implement the same ISA.                   gage inventory. For example, when the UAV is positioned
[0038] The non-transitory computer readable storage                   over a level surface at a delivery location, the inventory
medium 620 may be configured to store executable instruc-             engagement mechanism controller 612 may provide an
tions, data, flight paths, and/or data items accessible by the        instruction to a motor that controls the inventory engagement
processor(s) 602. In various implementations, the non-tran-           mechanism to release the inventory.
sitory computer readable storage medium 620 may be imple-             [0042] The LIDAR controller 614 may capture and process
mented using any suitable memory technology, such as static           signals from the various LIDAR components of a modular
random access memory (SRAM), synchronous dynamic                      LIDAR system, such as the modular LIDAR systems 102,
RAM (SDRAM), nonvolatile/Flash-type memory, or any                    300,400,408, and/or 414 shown above. The LIDAR control-
other type of memory. In the illustrated implementation, pro-         ler 604 may process the signals to detem1ine distances of
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objects in various directions, such as relative to a coordinate        the software components may execute in memory on another
system used by the UAV. The LIDAR controller 604 may                   device and communicate with the illustrated UAV control
process the signals to map surfaces of objects, which may be           system 600. Some or all of the system components or data
used in part to identify those objects, such as to identify a          structures may also be stored (e.g., as instructions or struc-
landing zone, a building, a sign, and so forth. In some embodi-        tured data) on a non-transitory, computer-accessible medium
ments, the LIDAR controller may include redundant hard-                or a portable article to be read by an appropriate drive, various
ware to enable parallel processing of signals from the LIDAR           examples of which are described above. In some implemen-
components.                                                            tations, instructions stored on a computer-accessible medium
(0043] The network interface 616 may be configured to                  separate from the UAV control system 600 may be transmit-
allow data to be exchanged between the UAV control system              ted to the UAV control system 600 via transmission media or
600, other devices attached to a network, such as other com-           signals such as electrical, electromagnetic, or digital signals,
puter systems, and/or with UAV control systems of other                conveyed via a conununication medium such as a wireless
UAVs. For example, the network interface 616 may enable                link. Various implementations may further include receiving,
wireless conummication between numerous UAVs. In vari-                 sending, or storing instructions and/or data implemented in
ous implementations, the network interface 616 may support             accordance with the foregoing description upon a computer-
com1mmication via wireless general data networks, such as a            accessible medium. Accordingly, the techniques described
Wi-Fi network. For example, the network interface 616 may              herein may be practiced with other UAV control system con-
support col111Ilunication via telecol111Ilunications networks          fignrations.
such as cellular col111Ilunication networks, satellite networks,       (0049] Although the subject matter has been described in
and the like.                                                          langnage specific to strnctural features and/or methodologi-
(0044] Input/output devices 618 may, in some implemen-                 cal acts, it is to be understood that the subject matter defined
tations, include one or more displays, image capture devices,          in the appended claims is not necessarily limited to the spe-
thermal sensors, infrared sensors, time of flight sensors,             cific features or acts described. Rather, the specific features
accelerometers, pressure sensors, weather sensors, airflow             and acts are disclosed as illustrative forn1s of implementing
sensors, etc. Multiple input/output devices 618 may be                 the claims.
present and controlled by the UAV contro I system 600. One or             What is claimed is:
more of these sensors may be utilized to assist in landings as            1. An unmam1ed aerial vehicle (UAV), comprising:
well as avoiding obstacles during flight.                                 a UAV frame confignred to support components of the
(0045] As shown in FIG. 6, the memory may include pro-                        UAV;
gram instructions 622 which may be configured to implement                a propulsion system coupled to the UAV frame, the pro-
the example processes and/or sub-processes described above.                   pulsion system causing rotation of rotors to generate
The data storage 624 may include various data stores for                      thrnst to propel the UAV during air travel;
maintaining data items that may be provided for determining
flight paths, retrieving inventory, landing, identifying a level          a LIDAR system coupled to the UAV frame, the LIDAR
                                                                              system comprising:
surface for disengaging inventory, causing movement of bal-
last, etc.                                                                    a swivel housing rotatably coupled to the UAV frame,
(0046] In various implementations, the parameter values                          the swivel housing configured to rotate about a first
and other data illustrated herein as being included in one or                    axis that is substantially perpendicular to a horizontal
more data stores may be combined with other information not                      plane defined by the UAV frame; and
described or may be partitioned differently into more, fewer,                 LIDAR components coupled to the swivel housing, the
or different data structures. In some implementations, data                      LIDAR components aimed outward from the swivel
stores may be physically located in one memory or may be                         housing at different orientations between a first ori-
distributed among two or more memories.                                          entation along the first axis and a second orientation
(0047] Those skilled in the art will appreciate that the UAV                     along a second axis that is angnlarly offset relative to
control system 600 is merely illustrative and is not intended to                 the first axis, each LIDAR component including at
limit the scope of the present disclosure. In particular, the                    least one laser emitter and at least one laser detector;
computing system and devices may include any combination                         and
of hardware or software that can perform the indicated func-              a motor to cause rotation of the swivel housing relative to
tions, including computers, network devices, internet appli-                  the UAV frame, wherein a full 360 degrees rotation of
ances, PDAs, wireless phones, pagers, etc. The UAV control                    the swivel housing about the first axis creates a horizon-
system 600 may also be com1ected to other devices that are                    tal field of view that provides capture of data to perform
not illustrated, or instead may operate as a stand-alone sys-                 distance measurement of objects in substantially 180
tem. In addition, the functionality provided by the illustrated               degrees of a vertical field of view.
components may in some implementations be combined in                     2. The LIDAR system as recited in claim 1, wherein the
fewer components or distributed in additional components.              first and the second orientations are angularly offset for posi-
Similarly, in some implementations, the functionality of               tioning the LIDAR components on different sides of a plane
some of the illustrated components may not be provided                 that is parallel with the first axis, the positioning to create
and/or other additional functionality may be available.                overlapping scamiing of the vertical field of view that
(0048] Those skilled in the art will also appreciate that,             increases a resolution of the data used to perfonn the distance
while various items are illustrated as being stored in memory          measurement of the objects.
or storage while being used, these items or portions of them              3. The LIDAR system as recited in claim 1, wherein the
may be transferred between memory and other storage                    LIDAR system further comprises a dome to enclose the
devices for purposes of memory management and data integ-              swivel housing and protect the swivel housing from at least
rity. Alternatively, in other implementations, some or all of          environmental conditions.
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   4. The LIDAR system as recited in claim 1, wherein the              arrangement that offsets at least some of the LIDAR compo-
LIDAR system further comprises a counter weight to counter             nents in a plane that does not intersect both the first axis and
balance the swivel housing when rotated about the first axis.          the second axis.
   5. An apparatus comprising:                                            13. The apparatus as recited in claim 5, further comprising
   a mounting base;                                                    a motor to cause the swivel housing to rotate relative to the
   a swivel housing rotatably coupled to the mounting base,            mmmting base.
                                                                          14. The apparatus as recited in claim 5, further comprising
      the swivel housing configured to rotate about a first axis
                                                                       a cmmter weight to counter balance the swivel housing when
      that is perpendicular to a plane defined by the mounting
                                                                       rotated about the first axis.
      base;                                                               15. The apparatus as recited in claim 5, further comprising
   LIDAR components coupled to the swivel housing, the                 a dome that covers the swivel housing to protect the swivel
      LIDAR components aimed outward from the swivel                   housing from foreign objects including weather.
      housing at different orientations between a first orienta-          16. The apparatus as recited in claim 15, wherein the dome
      tion along the first axis and a second orientation along a       rotates with the swivel housing.
      second axis that is angularly offset relative to the first          17. A LIDAR system comprising:
      axis, each LIDAR component including at least one                   a chassis to support a plurality of LIDAR components,
      laser emitter and at least one laser detector; and                     where the chassis orients each LIDAR component in a
   wherein in a full rotation of the swivel housing about a                  different directions; and
      horizontal field of view provides capture of data to per-           the plurality of LIDAR components comprising:
      form distance measurement of objects in at least 180                   a frame;
      degrees of vertical field of view.                                     at least one laser emitter coupled to the frame;
   6. The apparatus as recited in claim 5, wherein the swivel                at least one laser detector coupled to the frame and aimed
housing is a chassis that includes slots that accept individual                  in a same direction as the at least one laser emitter;
ones of the LIDAR components to create a modular LIDAR                       a circuit board including embedded logic and wiring to
system.                                                                         capture and route signals to and from the at least one
   7. The apparatus as recited in claim 5, wherein angles                        laser emitter and the at least one laser detector; and
between adjacent ones of the different directions are incon-                 a plug coupled to the circuit board, the plug including an
sistent.                                                                         interface configured to couple to the chassis to com-
   8. The apparatus as recited in claim 5, further comprising a                 municate the signals to a LIDAR controller.
LIDAR component that is aimed along the first orientation                 18. The LIDAR system as recited in claim 17, wherein the
and away from the mounting base.                                       chassis aims the plurality of LIDAR components outward
   9. The apparatus as recited in claim 5, further comprising          from the chassis at different orientations between a first ori-
an unmanned aerial vehicle (UAV), and wherein the mom1t-               entation along a first axis and a second orientation along a
ing base is coupled to an underside of the UAV to enable               second axis that is angularly offset relative to the first axis;
measurement of distances of objects generally below the                and wherein a full rotation of the chassis about a horizontal
UAV while the UAV is in flight.                                        field of view provides capture of the signals to perform dis-
   10. The apparatus as recited in claim 5, wherein the first          tance measurement of objects in substantially 180 degrees of
and the second orientations are offset by less than 90 degrees.        vertical field of view.
   11. The apparatus as recited in claim 5, wherein the first             19. The LIDAR system as recited in claim 17, wherein the
and the second orientations are angularly offset for position-         chassis orients the plurality ofLIDAR components in differ-
ing the LIDAR components on different sides of a plane that            ent directions that span between 90 degrees and 180 degrees
is parallel with the first axis, the positioning to create over-       in separation.
lapping scanning of the vertical field of view that increases a           20. The LIDAR system as recited in claim 17, wherein
resolution of the data used to perfom1 the distance measure-           chassis orients the plurality ofLIDAR components such that
ment of the objects.                                                   at least some angles between adjacent ones of the different
   12. The apparatus as recited in claim 5, wherein the LIDAR          directions are unequal.
components are coupled to the swivel housing in a non-planar                                  * * * * *
